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FoR 'rI-:E wEs'rERN DISTRICT oF TENNESSEE
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DARIUS D. LITTLE, W.D. GF Ti., 1.1?5.?`,.".~’!?§"!|3

Plaintiff,
v. No. 96-2520 Ml

SHELBY COUNTY, TENNESSEE,
et al.,

Defendants.

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ORDER A.ND OPINION PURGING DEFENDANTS OF CONTEMPT

 

On December 22, 2000, the Court issued an Opinion Finding
Defendants in Contempt of Court for failing to implement specific
steps ordered by Judge Turner in his orders of November 12, 1997,
and November 24, 1999, to correct the unconstitutional conditions
at the Shelby County Jail (“the Jail”).l Following the finding
of contempt, Defendants created a new remedial scheme that was
effectively adopted by the Court as the remedial plan to correct
the unconstitutional conditions at the Jail. The Court held
hearings in this case on April 15, 2005, and on April l9, 2005,

to determine whether Defendants should no longer be held in

 

l Appendices A~K, which contain certain documents referenced in

this order and opinion are attached. The order and opinion and the
appendices shall be accessible at http://www.tnwd.uscourts.gov for
five days following the entry of this order and opinion. In addition,
the order and opinion and appendices shall be permanently accessible
at http: //www. tnwd.uscourts .gov/JudgeMcCalla.

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contempt of Court.2

The long history of unconstitutional conditions at the Jail

 

In light of the provisions contained in § 3626(b) of the Prison
Litigation Reform Act (“PLRA”), the Court initiated the purgation
process and adopted a schedule to move Defendants toward purgation.
Section 3626(b) of the PLRA provides:

order denying termination of prospective relief under
this paragraph; or

(iii) in the case of an order issued on or before the
date of enactment of the Prison Litigation Reform Act,

(2) Immediate termination of prospective relief. -~ In any

granted in the absence of a finding by the court that the
relief is narrowly drawn, extends no further than necessary
to correct the violation of the Federal right, and is the
least intrusive means necessary to correct the violation of
the Federal right.

(3) Limitation. -- Prospective relief shall not terminate if
the court makes written findings based on the record that

violation. _ l
(4) Termination or modification of relief. -- Nothing in

terminable under paragraph (l) or (2), to the extent that
modification or termination would otherwise be legally
permissible.

18 U.S.C. § 3626(b).

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during the period between 1987 and 2001 was conceded by the
Defendants. The following quote from the report of Defendants’
expert, Dr. Jeffrey A. Schwartz, summarizes the conditions that

were present at the Jail:

Prior to 2001, the Shelby County Jail had a twenty year
history of abysmal leadership, mismanagement, nepotism
and cronyism, low hiring standards and poor personnel
practices, lack of staff training and other resources
and a profound lack of concern, support or
accountability from both the Sheriff's Office and the
rest of the Shelby County government. These factors
produced an overcrowded jail that was dangerous for
inmates and staff alike, a jail in which the living
units were largely controlled by gangs and in which
assaults, rapes, stabbings, escapes and suicides were
relatively commonplace events. The jail was filthy and
in poor repair; staff were unprofessional with inmates
and with each other and there was a well-established
pattern of excessive force. Food service, medical and
mental health services were deplorable and other
services such as inmate classification and inmate
programming were dysfunctional or simply lacking. The
rest of the Shelby County Sheriff's Office had
metaphorically disinherited the jail and its staff,
routinely refusing to recognize them as part of the
same organization. The jail had not been certified by
the Tennessee Corrections Institute (TCI) for many
years and it is difficult to imagine how the jail's
image in the community could have been much worse.

(Jeffrey A. Schwartz, A Review of the Shelby County Jail, March
2005, (“Schwartz Report”), Hearing Ex. 2, at 7.) (Docket No.
810.) Until the December 22, 2000, Opinion Finding Defendants in
Contempt of Court, Defendants failed to take steps to remedy
these conditions. (Id. at 59-60.) Since the finding of
contempt, Defendants have developed and taken steps to implement

a new remedial scheme that has alleviated the unconstitutional

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conditions at the Jail. For the following reasons, the Court
FINDS that Defendants have PURGED themselves of contempt through
the implementation of this new remedial scheme.

I. Background and Procedural History

Plaintiff Darius Little, while incarcerated in the Jail on
September 27, 1995, was raped by three gang members who were also
incarcerated in the Jail. No guard was present to prevent
Plaintiff from being raped. In addition, during the time of
Plaintiff's incarceration, guards were rarely present to observe
the inmates.

The present case was filed on May 14, 1996, and alleged that
Plaintiff's civil rights were violated under 42 U.S.C. § 1983.3
The case was originally assigned to the late Honorable Jerome
Turner and was transferred to this Court on March 6, 2000. On
September 12, 1996, Judge Turner issued a Consent Order in which
Defendants stipulated to their liability under § 1983 for
violation of Plaintiff’s rights under the Eighth Amendment of the
United States Constitution. (Consent Order Stip. Liab. for Inj.

Relief Purposes Only; and Estab. Proced. for Remedy, Sept. 12,

 

3 ln an order issued on April 14, 1998, the Court certified a
class of all persons who were at that time, or would in the future be,
incarcerated in the Shelby County Jail. That order effected the
consolidation of two inmate rape cases and provided for the
implementation, monitoring and enforcement of injunctive

relief in this case. (Consent Order of Apr. 14, 1998, Banks v.
Shelby County, No. 96-2874 (W.D. Tenn. filed Aug. 16, 1996.)) The

consolidated cases included Banks and Hill v. Shelbv Countv, No. 96-
2622 (W.D. Tenn. filed June 17, 1996).

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1996, (Docket No. 15).)

On November 12, 1997, the Court issued an Order Granting
Injunctive Relief to Remedy Unconstitutional Conditions in Shelby
County Jail and Findings of Fact and Conclusions of Law in
Support of Order Granting Injunctive Relief to Remedy
Unconstitutional Conditions in the Shelby County Jail (“Findings
of Fact”). (Order Granting Inj. Relief to Remedy Uncons. Cond.
in Shelby Co. Jail, Nov. 12, 1997, (Docket No. 55).); (Find. Of
Fact and Concl. of Law in Supp. of Order. Granting Inj. Relief to
Remedy Uncons. Cond. in Shelby Co. Jailr Nov. 12, 1997, (Docket
No. 54).)

In his findings of fact, Judge Turner described the
conditions at the Jail concerning population capacity, intake and
classification of inmates, inmate supervision, noise level, gang
activity, data collection and certification.4 (Find. Of Fact,
Nov. 12, 1997, (Docket No. 54), at 3-5.) Judge Turner found that
the following factors would reduce the risk of violence and
sexual assault in the Jail: (l) continual supervision of inmates;
{2) properly classifying inmates, and separating inmates who are
likely to assault other inmates; and (3) separating inmates who
are likely to be victims of assault. (Id. at 5-6.) In addition,

Judge Turner found that increased guard supervision would reduce

 

4 Judge Turner's November 12, 1997, findings of fact are attached
to this order and opinion as Appendix A.

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the likelihood of physical and sexual assaults on inmates in the
Jail and that continuous twenty-four hour supervision of the cell
block should also reduce physical and sexual assaults in the
Jail. (Id. at 6.)

The November 12, 1997, order required the Jail to make
several changes with respect to the manner in which it was
operated¥

1. Classification. Within 90 days of the entry of this
order, each inmate admitted to the Shelby County Jail
will be confidentially interviewed by classification
staff prior to such inmate’s cell assignment to
determine if such inmate has known enemies from whom he
should be separated; protective custody needs; or gang
involvement. Information will be collected during the
initial classification interview to determine if such
inmate has assaulted other inmates during prior
incarcerations, or has been a victim of an assault by
another inmate during prior incarcerations, or fears he
may be victimized by another inmate, or has gang
affiliations or previous conviction for violent crimes.
This information shall become part of an automated
inmate information system, which shall be developed and
implemented as soon as practicable, using good faith
efforts but no later than nine months from the entry of
this order to insure that potential victims are
separated from known predators (i.e., inmates who have
assaulted other inmates.) All housing unit assignments
will be made by classification staff only. Within six
months after the entry of this order, all staff
assigned to classification will complete a course of
classification interviewing training designed to insure
compliance with this order.

2. Housing. Any inmate who is classified as violent (a
level V, VI, or VII on the current classification
scale) shall never be housed in a cell with more than
one other inmate. Whenever it becomes necessary to
assign two inmates to the same cell, classification

 

5 The November 12, 1997, order is attached as Appendix B.

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officers will not house potential victims with known
predators. Furthermore, inmates classified as violent
(i.e., those indicated by a red dot on the wrist band
under the current classification system), and inmates
with a known history of violence, will not be housed
with inmates classified as nonviolent (indicated by a
blue, green, or yellow dot on the wristband, under the
current classifications). When a compatible housing
assignment cannot be made, the inmate shall be housed
in a single cell. As soon as reasonably possible, but
no later than nine months after the entry of this
order, the facility shall implement a policy requiring
single-celling for those inmates who have not yet been
fully classified.

3. Inmates Supervision. A separate cell block officer
shall be continuously assigned to each of the cell
blocks in which inmates are incarcerated, on the lower
level of the current jail facility whenever any of the
cells in such cell block house two or more inmates.
Each cell block officer shall monitor the cell block to
he/she is assigned continuously to assure the inmates
housed together in the same cell are housed compatibly.
Only under documented emergencies involving risk of
safety to cell block officers or inmates will cell
block officers supervise more than two adjacent cell
blocks at a time, and shall only do so for the time
period necessary to resolve such emergency. The
continuous monitoring required by this order shall be
implemented as soon as reasonably possible, but no
later than nine months from the date of entry of this
order.

4. Cell Block officers assigned to housing duties on
floors 2, 3 and 4 of the current jail facility will
also Continuously supervise individual cell blocks in
which inmates are incarcerated to assure compatibility.
Cell block officers may only be removed from their
assigned cell blocks for documented emergencies
involving risks of safety to cell block officers or
inmates, and then only for the time period necessary to
resolve such emergency. Under no circumstances shall a
cell block officer supervise more than two adjacent
cell blocks at a time. lt is the intent of this order
that there shall be a separate cell block officer
assigned at all times to supervise each cell block in
the current facility on floors 2, 3 and 4, when such
cell block houses inmates and are not totally locked

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down for the entire shift. Every cell block shall have
its own cell block officer continuously supervising
such cell block except as otherwise allowed in this
order. The continuous monitoring required by this
order shall be implemented as soon as reasonably
possible, but no later than nine months from the date
of entry of this order.

5. Each cell block officer will insure that inmates are
housed compatibly by frequent observation of behavior
of inmates in the cell block such cell block officer is
supervising, and by confidentially interviewing inmates
in the cell block to determine if the inmate’s cell
assignment is safe. In addition, cell block officers
will interview any inmate in the cell block who the
cell block officer believes may be having compatibility
problems with other inmates. Inmates identified as
having potentially violent cell mate compatibility
problems will be promptly separated and referred to
classification for review.

6. In general population cells on the second, third and
fourth floors, inmates will be permitted to move
between their cell and the day room of the cell block
during a five minute period each hour, unless such
movement is otherwise restricted by jail operational
procedures. During the remaining 55 minutes of the
hour, the cell doors will remain locked. Inmates may
remain in their cells, or the day room during those 55
minute periods. Cell block officers will continuously
monitor the cells during these five minute periods when
the cell doors are open to insure that no inmate enters
a cell within the cell block to which such inmate is
not assigned.6

7. Continuous direct observation of inmates by cell
block officers is required during all out-of-cell
activity in lock down and protective custody housing
units.
(Order Granting Inj. Relief to Remedy Uncons. Cond. in Shelby Co.
Jail, Nov. 12, 1997, (Docket No. 55), at 3-7.)

On November 24, 1999, Judge Turner issued a Consent Order

 

5 This policy is known as the 55/5 policy.

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Adopting Recommendations of Special Master, Final Order Granting
lnjunctive Relief as to Conditions in the Shelby County Jail.7
The November 24, 1999, order mandated that the provisions in the
November 12, 1997, order concerning classification, housing, and
inmate supervision would remain in force until November l, 2004.
(Consent Order Adopting Recommendations of Special Master, Final
Order Granting Inj. Relief as to Conditions in the Shelby Co.
Jail, Nov. 24, 1999, (Docket No. 78), at 5.) The November 24,
1999, order also required Defendants to modify their record
keeping of violent incidents at the Jail. (Id. at 5-6.) In
additionr it contained the following requirement regarding
overtime:
lt is further ordered that defendants are forbidden to
regularly use overtime to staff cell block officer
positions required by the Court Order. The defendants
are to make good faith efforts to employ sufficient
cell block officers to staff all positions required by
the Court Order. If due to exceptional reasons,
overtime must be utilized to staff a position,
voluntary overtime should be used before the use of
mandatory overtime. The defendants should in such
cases use good faith efforts to cease using overtime to
staff positions as soon as possible.
(Id. at 6.) These additional requirements also remained in
effect until November l, 2004. (ld. at 5.)
Plaintiff filed a Motion to Cite Defendants for Contempt of

Court on June 29, 2000, and a Supplemental Motion to Cite

Defendants for Contempt of Court on September l, 2000. On

 

7 The November 24, 1999, order is attached as Appendix C.

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December 22, 2000, the Court issued its Opinion Finding
Defendants in Contempt of Court.5 In particular, Defendants were
found to be in contempt of Court because they had failed to
comply with the provisions of the November 12, 1997, order
requiring single celling of inmates who were not fully
classifiedr adequate inmate supervision and compliance with the
55/5 policy. (Op. Finding Defs. in Contempt of Court, Dec. 22,
2000, (Docket No. 233), at 43.) In addition, Defendants were
held in contempt for failing to comply with the provision of the
November 24, 1999, order concerning the prohibition of the
regular use of overtime to staff Court-ordered posts. (Id.) The
opinion instructed the parties to submit short, intermediate, and
long-term remedial plans to correct the unconstitutional

conditions in the Jail.9 (Id.)

 

8 The December 22, 2000, opinion is attached as Appendix D.
9 ln a related proceeding, the United States filed a complaint
against the Defendants pursuant to the Civil Rights of
Institutionalized Persons Act of 1980, 42 U.S.C. § 1997, seeking to
enjoin the Defendants from depriving persons incarcerated at the Jail
of rights, privileges, or immunities secured and protected by the
United States Constitution. United States v. Shelby County, No. 02-
2633 (W.D. Tenn. filed Aug. 12, 2002), Complaint, Aug. 12, 2002,
(Docket No. l). After the parties entered into a Settlement
Agreement, the Court issued an order conditionally dismissing the case
and placed the case on the inactive docket pending Defendants’
compliance with the Settlement Agreement. United States v. Shelby
County, Order of Conditional Dismissal, Aug. 15, 2002, (Docket No. 3).
A copy of the Settlement Agreement is attached as Appendix I. The
Settlement Agreement is also available at the United States Department
of Justice website at
http://www.usdoj.gov/Crt/split/documents/shelbyMsettleagmt.htm.
Additionally, a Findings Letter issued by the United States on June
27, 2001, following an investigation of the Jail is attached as
(continued...)

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II. Findings of Fact

Based on the entire record in this case, including the
purgation hearings held on April 15, 2005, and April 19, 2005,
the Court makes the following findings of fact on the issues now
before the Court.

The Shelby County Jail is a temporary detention facility for
individuals awaiting disposition of their criminal charges
pending in the criminal courts in Shelby County, Tennessee.
Convicted individuals are then transferred to either state or
county prison facilities to serve their sentences. The Jail was
considered to be one of the worst urban jails in the United
States prior to 2001. (Tr. at 30, 94-95, 123; Hearing Ex. 2, at
40.) In fact, several cases have highlighted the
unconstitutional conditions existing within the Jail prior to
2001. gee Gilland v. 0wens, sup ppm4 No. 87-2191 (W.D. Tenn.

filed Mar. 18, 1987);10 Pulliam v. Shelby Countv, No. 92-2354

 

{...continued)

Appendix J. The Findings Letter is also available at the United
States Department of Justice website at
http://www.usdoj.gov/crt/split/documents/shelbyfind.htm.

w Gilland was the preceding case involving, among other things,
inmate violence and overcrowding in the Shelby County Jail. Judgment
was entered dismissing the case on July 7, 1993. That case was a
class action that provided for implementation, monitoring and
enforcement of injunctive relief. Moreover, the following case
numbers were consolidated in the class action: No. 87-2276; No. 87-
2273; No. 87-2429; No. 87-2341; No. 87-2348; No. 88-2924; No. 88-2095;
and No. 88-3004.

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(W.D. Tenn. filed Apr. 20, 199.2);ll and United States v.

 

n ln Pulliam, the Plaintiff alleged that he was attacked and
beaten by approximately 10 inmates at the Jail on December 27, 1991.
In the closing argument of the jury trial, Plaintiff's counsel stated
the following concerning the attack on Plaintiff:

But l want you to close your eyes and think about being
Michael in that pod and being drug into the day room area.
He was in the day room area and you heard Mike testify this
is an open arear you heard each and every guard testify that
they were supposed to have visual access of this area at all
times, they were supposed -- and that it was critical for
security for them to have access. Well, as Judge Gibbons
found, I’m going to assert to ya'll that l believe that what
happened was that the staffing wasn't adequate. Remember,
we have got some testimony about the fact that those that
were on the roster weren’t exactly those that were actually
there that day, so l choose to believe that they were
understaffed and that's why nobody saw. But remember Mike
testified he was brought out here where this A is and that's
where he was jumped on by what, eight, ten inmates, them
beating and beating and beating on himr them stomping and
hitting him, and then he was pulled over here to this table
where he was laid on his back and one of the people in that
pod stood on the table and stomped and stomped and stomped
on his hip until it broke.

Now, ladies and gentlemen, I cannot imagine the terror of
hearing my own bones being broken by someone else. l cannot
imagine the terror in the helplessness of laying here and no
one coming to get me, no one intervening. But that wasn't
the end of it for Michael, he was drug from here -- he
couldn't walk, his hip was broken, so he was drug over here
into the shower area where they attempted to sexually
assault him, where they urinated on him, where they
committed indignities to that man that no man or woman
should ever have to put up with. They stomped on his armr
ladies and gentlemen, they broke both the bones in his
wrist. I’m.not talking about a pencil like what ya’ll have
got in your hand, I’m talking about the bones of a full
grown man and they broke themq But that wasn't the end of
the terror for Michael, no. From here, remember, he was
dragged further, dragged because he couldn’t walk back to
this bunk where someone, and it is undisputed that this
happened, took off their clothes, put grease in their hand
and started to attack him again. I cannot imagine the mind-
set of Michael at that point, l cannot imagine it. All we
do know is that that screaming was something that eventually
caused him to be dragged back out into the day room area
(continued.-.)

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Marshall, No. 93-20117 (W.D. Tenn. filed Apr. 22, 1993).12 At

 

{...continued)
again where he was kicked and kicked and kicked until he had
his ribs broken. l submit to you, ladies and gentlemen, all
of that took a lot longer than 30 seconds. Michael was
eventually taken out of the pod. Michael's testimony is
that he laid here for some period of time, and we don't know
exactly how long he laid there, but the incident report that
ya'll have all seen said that this happened at about ll
minutes after 8:00 in the evening. We do know that Michael
was taken to the Med and he got there at 10:13. That's a
two hour-period, folks. Mike had a hip trauma, he had a
very severe trauma. That kind of trauma is attended to
immediately, and we know that it took them at least two
hours from the time it happened until the time he got there
for him to be treated.

Pulliam, Transcript from Trial Proceedings held Apr. 26, 1994, June
14, 1994, (Docket No. 106), at 15-17.

On April 27, 1994, following the trial, the jury rendered a
verdict for Plaintiff and against Defendant, A.C. Gilless,
individually, in the amount of $895,000 in compensatory damages and
8109,500 in punitive damages, and against Defendant Shelby County in
the amount of $3,750,000 in compensatory damages. Pulliam, Judgment,
Apr. 28, 1994, (Docket No. 90).

n Marshall involved a Jail Lieutenant who organized an ad hoc
group of jailers to beat certain juvenile pretrial detainees on
September 6, 1991. Lt. Marshall and 6 deputy jailers were indicted
under 18 U.S.C. § 242 (Deprivation of Rights Under Color of Law).

The 7-count indictment asserted in summary that:

lt was part of the plan and purpose of this conspiracy (to
deprive the victims of the right to be free from the use of
unreasonable force amounting to punishment by one acting
under color of law) that the defendants would remove
juvenile pretrial detainees, who were in cells and in the
custody of the Shelby County Sheriff, from the cells in the
P + Q pod area of the second floor of the Shelby County
Jail....That the defendants, after removing these prisoners
a few at a time, would assault and beat them in the hallway
adjacent to the P + Q pod....That this beating would be
accomplished with fists, shot feet, riot sticks, and stun
guns.

Marshall, lndictment, Count l,at 2-3.
lt was further alleged that, after the beatings:

On the afternoon of September 6, 1991, defendants Belinda
(continued...)

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that time there was a high risk of violence and rape, gang

control was pervasive, and institutional control was poor.13

 

(...continued)
Marshall and Glynn Bridgeforth and another co-conspirator
agreed to have the officers involved prepare reports
concerning the beatings which falsely stated that the
inmates attacked the officers with weapons.

lg. at 4.

Of the four defendants who went to trial, 3 were convicted and
sentenced to substantial periods of imprisonment (51 months, 63
months, and 120 months for Bridgeforth, Tines, and Marshall

 

respectively). The Sixth Circuit Court of Appeals affirmed their
convictions on November 29, 1995. United States v. Tines, 70 F.3d 891
(6th Cir. 1995). The Sixth Circuit opinion noted that: “None of the

inmates [selected to be beaten] had participated in the earlier fight
with the new inmates [the asserted justification for the beatings
organized by Lt. Marshall].” ld4 at 894. The injuries to the inmates
were summarized as follows:

The six inmates suffered abrasions, contusions, and
lacerations. Among other injuries, Adams suffered a
fractured humerus; Chaney suffered a broken nose and
fractured ribs; Coleman suffered a fracture of the medial
wall between the eye socket and the nose; and 0wens suffered
retinal hemorrhaging as well as broken bones in both his
nose and eye socket.

m The lack of administrative control within the Jail is
illustrated by widespread guard-to-inmate drug smuggling as
evidenced by a federal “sting” operation in 1991 and
institutional loss of control is illustrated by riots that
occurred in the summer of 1991. Specifically, on August 7, 1991,
twenty-seven individuals, twenty-two of whom were then employed at the
Jail, were indicted by a federal grand jury as a result of a federal
investigation concerning individuals who were paid by inmates to
smuggle contraband, such as cocaine base and dilaudid, into the Jail.
§§§ James Chisum and Chris Conley, Jail Chaplain, Others Dealt lnmates
Drugs, Charges Say, The Commercial Appeal, (Memphis, TN), Aug. 8,

1991, at Al, available at LEXlS, News Library, Newspaper Stories,
Combined Papers. Those individuals were charged in the following
cases: United States v. Johnson et al., No. 91-20196 (W.D. Tenn. filed
Aug. 7, 1991); United States v. Harmon, No. 91-20197 (W.D. Tenn. filed
Aug. 7, 1991); United States v. Lane, No. 91-20198 (W.D. Tenn. filed
Aug. 7, 1991}; United States v. Wooten, No. 91-20199 (W.D. Tenn. filed
(continued...)

 

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(Tr. at 70, 128-29.) Since the finding of contempt, however, the

Jail has undergone a remarkable turnaround14 that has resulted in

 

(...continued)
Aug. 7, 1991); United States v. Brownlee, No. 91-20200 (W.D. Tenn.

 

 

 

 

 

 

 

 

 

filed Aug. 7, 1991); United States v. Harmon, No. 91-20201 (W.D. Tenn.
filed Aug. 7, 1991); United States v. Smith, No. 91-20202 (W.D. Tenn.
filed Aug. 7, 1991); United States v. lrvinq, No. 91-20203 (W.D. Tenn.
filed Aug. 7, 1991); United States v. Hudson, No. 91-20204 (W.D. Tenn.
filed Aug. 7, 1991); United States v. McNeal, No. 91-20205 (W.D. Tenn.
filed Aug. 7, 1991); United States v. Kev, No. 91-20206 (W.D. Tenn.
filed Aug. 7, 1991); United States v. Holton, No. 91-20207 (W.D. Tenn.
filed Aug. 7, 1991); United States v. Rogers, No. 91-20208 (W.D. Tenn.
filed Aug. 7, 1991); United States v. Chambers, No. 91-20209 (W.D.

 

Tenn. filed Aug. 7, 1991); United Sta es v. Tate, No. 91-20210 (W.D.
Tenn. filed Aug. 7, 1991); United States v. Currie, No. 91-202ll (W.D.
Tenn. filed Aug. 7, 1991); United States v. Thompson et al., No. 91-
20212 (W.D. Tenn. filed Aug. 7, 1991); United States v. Nunn, No. 91-
20213 (W.D. Tenn. filed Aug. 7, 1991); United States v. Stillman, No.
91-20214 (W.D, Tenn. filed Aug. 7, 1991); United States v. Chiles, No.
91-20215 (W.D. Tenn. filed Aug. 7, 1991); United States v. Burton, No.
91-20216 (W.D. Tenn. filed Aug. 7, 1991); United States v. Hall, No.
91-20217 {W.D. Tenn. filed Aug. 7, 1991); United States v. Richards,
No. 91-20218 (W.D. Tenn. filed Aug. 7, 1991); United States v.
Jackson, No. 91-20219 (W.D. Tenn. filed Aug. 7, 1991); and United
States v. Harris, No. 91-20220 (W.D. Tenn. filed Aug. 7, 1991).

On June 22, 1991, inmates rioted and, for a period of time.
controlled part of the fourth floor of the Jail. Joey Senat and
Lawrence Buser, Downtown lnmates Riot 0ver Quality of Breakfast, Ih§
Commercial Appeal (Memphis, TN), June 23, 1991, at Al, available at
LEXIS, News Library, Newspaper Stories, Combined Papers. Two months
later, on August 17, 1991, the Jail experienced a major riot where
inmates took control of the fourth floor for approximately eight
hours. James Chisum, Eight-Hour Riot Rocks Jail; Damage Heavy to 4th
Floor; Some Prisoners Transferred, The Commercial Appeal (Memphis,
TN), Aug. 18, 1991, at Al, available at LEXlS, News Library, Newspaper
Stories, Combined Papers. That riot briefly spread to the third floor
of the Jail. ld;

M Despite the progress that has been made, the Jail continues to
experience problems with the smuggling of contraband into the
facility. On March 8, 2005, seventeen individuals, fourteen of whom
were current and former deputy jailers, were indicted for smuggling
drugs into the Jail. Those individuals were charged in the following
cases: United States v. Williamson, No. 05-20066 (W.D. Tenn. filed
Mar. 8, 2005); United States v. Williamson, et al., No. 05-20071 (W.D.
Tenn. filed Mar. 8, 2005); United States v. Williamson, et al., No.
05-20075 {W.D. Tenn. filed Mar. 8, 2005); United States v. Williamson,
et al., No. 05-20076 (W.D. Tenn. filed Mar. 8, 2005}; United States v.

(continued...)

 

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a drastic reduction in the levels of violence and gang control
that were once prevalent.15 (Tr. at 19, 33, 95, 119, 175;
Hearing Ex. 2, at 40; Hearing Ex. 3.)

After the finding of contempt, Defendants developed and
undertook steps to implement a new remedial scheme that included

numerous components that, when executed in combination, have

 

(...continued)

Williamsonl et al., No. 05-20077 (W.D. Tenn. filed Mar. 8, 2005);
United States v. Reedr No. 05-20067 (W,D. Tenn. filed Mar. 8, 2005);
United States v. Grant, No. 05-20068 (W.D. Tenn. filed Mar. 8, 2005};
United States v. Grant, et al., No. 05-20072 (W.D. Tenn. filed Mar. 8,
2005); United States v. Grant, et al., No. 05-20073 (W.D. Tenn. filed
Mar. 8, 2005); United States v. Grant, et al., No. 05-20074 (W.D.
Tenn. filed Mar. 8, 2005); United States v. Grant. et al., No. 05-
20078 (W.D. Tenn. filed Mar. 8, 2005); United States v. Sprinqer, No.
05-20069 (W.D. Tenn. filed Mar. 8, 2005); and United States v.
Boylandc et al., No. 05-20070 (W.D. Tenn. filed Mar. 8, 2005).

w Defendants' expert, Dr. Jeffrey A. Schwartz, testified that the
level of gang violence has reduced substantially, that gang activity
is almost undetectable, and that Jail staff, instead of gangs, now

control the living units. (Tr. at 19.} ln making these findings, Dr.
Schwartz relied onr among other things, inmate interviews and Jail
incident reports. (ld.) Some of the interviews were conducted

separately by himself, and some were conducted jointly with Charles
Glover Fisher, V., an expert in the field of corrections who is the
Special Master in this case. (ld.)

Dr. Schwartz further testified that, after interviewing inmates
on every floor of the Jail, none of them said they had been
threatened, had difficulty sleeping, worried about being attacked, had
been attacked, were pressured for commissary goods, telephone timel or
sex, or that they experienced any of the other conditions consistent
with gang control of living units in the Jail. (Tr. at 19-20.) His
findings were corroborated by the fact that some of the inmates who
were interviewed had stayed in the Jail on previous occasions and
described the dangerous conditions and extensive gang violence and
control that once existed at the Jail. (Tr. at 20.)

Mr. Fisher similarly testified that the level of violence at the
Jail has decreased substantially and that gang control is nonexistent.
(Tr. at 119, 175; Hearing Ex. 3.) He further testified that inmates
he interviewed said they felt safe and saw no gang activity in the
Jail. (Tr. at 119) Mr. Fisher interviewed inmates from all sections
of the Jail, including the third and fourth floors, where most of the
gang members are housed. (ld.)

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improved the conditions at the Jail. (Tr. at 34, 70, 95, 130,
164-65.) These components include direct supervision in the cell
blocks, improved population management, the collection and
utilization of data, the installation of an objective
classification system, improved control of gang members through
the creation of a Gang lntelligence Unit, improved inmate
discipline and prosecution of inmate crimes committed within the
Jail, the creation of a separate Disturbance Response Team, the
provision of adequate inmate services, the creation of an
effective grievance procedures, improved staff training, improved
security, efforts to obtain certification and accreditation, the
creation of programs and activities to reduce inmate idleness,
and improved leadership. The continued development and
implementation of each of these components is critical to
maintaining the current constitutional conditions at the Jail.
Moreover, the failure to continue implementing any single
component could be detrimental to the Jail's ability to operate
at a constitutional level. (Tr. at 164-65.) The Court will

discuss these individual components in turn.

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A. Direct Supervision

The Jail is a poorly designed facility.16 This poor design

makes it difficult to operate the Jail securely and efficiently.

(Tr. at 36-37.) The poor design also makes it possible for
inmates to escape observation from staff members. (Tr. at 131-
32.)

Prior to 2001, the Jail employed a method of supervision
called indirect supervision, which for all practical purposes,
resulted in little or no meaningful supervision. (Tr. at 37,
132; Hearing Ex. 2, at 61.) Under this system, deputy jailers
did not wish to go into the cell blocks unless they were
accompanied by other jailers or they had no choice. (Tr. at 38.)
ln addition, observation of inmates through a small window in the
back of each cell from the “catwalk” was not effective for
numerous reasons.“ (Tr. at 37-38.) Dr. Schwartz opined that

this lack of supervision contributed to the pervasive gang

 

16 The Jail contains pods, or cell blocks, which are groups of 23
cells. A central corridor, called the day roomr separates the two

rows of cells inside an individual pod. (Tr. at 36.) A catwalk
accessible to the Jail staff also runs behind the row of cells. (Tr.
at 37.) For the purpose of this order, the Court uses the terms “pod”

and “cell block” interchangeably.

w For example, inmates would often cover the window to prevent
observation, the windows would often be badly scratched and the lights

inside the cell would often be out or covered. (Tr. at 37-39.)

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control and gang violence in the Jail prior to 2001.18 (Tr. at
39.)

The Court heard testimony concerning the central role direct
supervision now plays in reducing the level of violence and gang
control in the Jail. Direct Supervision requires a staff member
of a correctional facility to work directly with inmates inside
the living unit. (Tr. at 35.) ln particular, the staff member
is permanently stationed inside the living unit for the duration
of a shift. (ld.)

After the Court issued its opinion finding Defendants in
contempt, the Jail, after a period of delay, implemented direct
supervision. Direct supervision is practiced at the Jail by
locking a deputy jailer inside each of the regular cell blocks
during the two day shifts when the inmates are allowed out of
their cells and into the day room, a communal area between the
two rows of cells in each cell block. (Tr. at 36, 39-40, 133-34,
l39-40.) During the night shift, when inmates are locked down in
their individual cells, direct supervision is not practiced and
instead one deputy jailer supervises three cell blocks. (Tr. at

42-44, 133-34.)

 

13 Mr. Fisher testified that gang activity occurred in the cell
blocks when deputy jailer left their posts. (Tr. at 139.) The record
further reflects that although deputy jailer’s were at one time
stationed in the hallway in front of the cell blocks, gang activity
would nonetheless occur when the jailers either did not pay attention,
left their posts, or simply could not see because of the poor sight
lines.

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The Court received proof demonstrating that direct
supervision has played a critical role in reducing the level of
violence and gang control in the Jail because it places guards in
a better position to observe what is transpiring inside the cell
block. (Tr. at 21-22.) Under a system of direct supervision, it
is more difficult for inmates to commit violent acts or sexual
assaults because deputy jailers are in the shared common area and
can immediately respond. (Tr. at 46, 140-41.) Furthermore, by
interacting with the inmates inside the cell block, deputy
jailers can detect potential disputes between inmates and
intervene before those disputes escalate into violence. (Tr. at
47, 141.) The presence of deputy jailers inside the cell blocks
also provides inmates with an excuse not to fight other inmates.
(Tr. at l4l.)

Under a system of direct supervision, deputy jailers also
act more like managers of the individual cell blocks. (Tr. at
46, 158.) ln this capacity, it is important that they provide
inmates with information and basic services, including, among
other things, food, maintenance, counseling, chaplaincy, and
medical and mental health services. (Tr. at 46-48, 160.) The
ability to provide these services impacts the quality of direct
supervision; when those services are poor or unavailable, the
credibility and management ability of the deputy jailer stationed

inside the cell block is undermined. (Tr. at 48, 158-60.)

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Conversely, when the deputy jailer is able to provide these
services, the level of violence in the Jail is reduced.19 (Tr.
at 46-48, 159-60.)

B. Population Management

Population management has played a critical role in reducing
the level of violence at the Jail. (Tr. at 48, 143-44.) The
Court heard testimony demonstrating that as a correctional
facility becomes more crowded, management of the facility becomes
more difficult and the risk of violence, inmate disturbances and
riots increases. (Tr. at 49, 143-44.) ln the Shelby County
Jail, for instance, it is much more difficult to control gangs or
violence when the Jail has 3,000 inmates as opposed to 2,000
inmates. (Tr. at 21, 142; Hearing Ex. 2, at 62.)

Following the contempt finding, the County began a concerted
effort to develop population management information. (Tr. at
49.) As a result of this effort, the Jail currently produces
monthly Population Management Reports which include data on,
among other things, the average daily population at the Jail. the
total number of inmates booked, the total number of inmates
released, the average length of stay at the Jail, booking process

time and the total number of inmates in the Jail with cases

 

w Dr. Schwartz specifically testified during the hearings that
providing necessary maintenance services in a timely manner is
important in reducing the level of violence in the Jail, but that
“[t]he link between poor maintenance services and violence is probably
indirect and ... would be hard to specify;” (Tr. at 46-47.)

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pending in General Sessions Courts and Criminal Courts broken
down by the booking date and offense type. The report identifies
when and why there are backups in moving the inmate population
through the Jail.20 (Tr. at 85.) Data contained in the reports
is shared with state criminal court judges during monthly
meetings that focus on population management. (Tr. at 85-86.)
The Jail also now employs a jail population management
analyst to facilitate the County's population management
effort.217 (Tr. at 142.) The population management analyst works
with the population data that is collected, examines individual
inmate cases and meets with judges and representatives from the
offices of the District Attorney General and Public Defender to
try to move particular cases through the Jail. (Tr. at 142-43.)
ln addition, the population management analyst works with
pretrial services in an effort, where appropriate, to obtain
lower bonds or move particular inmates out of the Jail. (Tr. at

143.) Mr. Fisher testified that the efforts of the population

 

20 For instance, Sheriff Mark H. Luttrell, Jr. testified that when
a significant number of inmates have stayed in the Jail for an
extended period of time, the jail population management analyst makes
inquiries with the District Attorney General’s office and the Public
Defender's office to determine what is delaying particular cases.
(Tr. at 85.)

21 lnitially, Ms. Kim Hackney served as the jail population
management analyst. (Tr. at 142.) Currently, Ms. Chris Kirby is
serving in this position. (ld ) The creation of the jail population
management analyst position and the employment of Mr, William Powell,
the county Criminal Justice Coordinator, have been essential in
implementing the County's population management effort.

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management analyst have been very helpful in reducing the jail
population. (ld.)

Overpopulation has the potential to undermine much of the
progress that has been made in remedying the unconstitutional
conditions that once existed in the Jail.22 The following quote
from Dr. Schwartz’s report is illustrative of the importance of

population management:

Without the heavy emphasis on population management
over the last four years, it is reasonable to conclude
that almost everything in the jail would be
significantly more difficult. Most importantly,
lowering population pressures has directly helped
prevent violence.

(Hearing Ex. 2, at 63.)

C. Collection and Utilization of Data

The collection and utilization of data is essential to the
effective operation of a detention facility. Prior to 2001, data
collection at the Jail was essentially non-existent. (Hearing
Ex. 2, at 66; Tr. at 154.) Since the contempt finding, the Jail
has made progress in collecting and utilizing data to track

conditions at the Jail. Dr. Schwartz testified that the Jail now

 

22 Mr. Fisher testified that he is concerned by the steady
increase in the jail population from approximately 1,700 inmates to
between 2,200 or 2,250 inmates. (Tr. at 179.) He further testified
that the causes for the population increase were that inmates were
arrested of more serious crimes, obtained higher bonds, and
experienced longer stays in the Jail than in the past. (ld.) Mr.
Fisher testified regarding the negative effects a continuing increase
in the jail population could have on the progress made at the Jail.
(ld.) Mr. Fisher also testified that the County was acting
aggressively to keep the Jail population low. (Tr. at 180.)

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uses data to a higher degree than any jail he has worked with in
the United states.23 (Tr. at 26.)

One example of how data is currently utilized at the Jail is
the Jail Report Card - a monthly report that provides statistics
on Jail operations and activities.24 (Tr. at 84.) Through this
report, problems within the Jail are identified. (Tr. at 155.)
The information contained in the Jail Report Card is reviewed at
monthly meetings attended by Shelby County Sheriff Mark H.
Luttrell, Jr. During these meetings individual managers explain
any variances in numbers concerning their areas of operation.

(Tr. at 84.) Sheriff Luttrell testified that the Jail Report
Card is used both as a tool to monitor conditions at the Jail and
to hold managers accountable for their areas of operation. (ld.)

D. Objective Classification25

ln the past, the Jail had no effective classification
system, {Hearing Ex. 2, at 64.) The Jail had difficulty

obtaining information that was necessary to properly and quickly

 

23 Mr. Fisher testified that although the Jail has improved its
data collection and reporting, the analysis of the data that is
collected needs to improve. (Tr. at 122, 155.) Mr.

Fisher further testified that although the County is addressing this
issuer it will take some time for improvements in analysis to occur
because most staff at the Jail are not experienced in performing data
analysis. (Tr. at 122-23.)

24 The Shelby County Sheriff's Office April 2005 Jail Report Card,
filed on June 13, 2005, is attached as Appendix G.

25 The Court received testimony during the purgation hearings
demonstrating that over 50,000 inmates are booked into the Jail per
year- (Tr. at 27.)

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classify inmates.26 (Tr. at 148.) Under the prior
classification system, an inmate receiving a high security level
classification could nonetheless be assigned to a floor that was
inappropriate for that inmate given the inmate’s classification.
(Tr. at 147-48.) As a result, a highly violent, predatory inmate
could be, and often was, housed with an inmate who was likely to

be victimized.27 (Tr. at 55; Hearing Ex. 2, at 64.)

 

26 ln Gilland v. Owens[ No. 87-2191 (W.D. Tenn. filed

Mar. 18, 1987), the Court made the following finding of fact regarding
the prior classification system:

Under the current system, jail officials simply do not
obtain and utilize much information pertinent to a
determination of whether an individual is violent or
nonviolent. The conclusion is inescapable that there is no
effective separation of violent and nonviolent inmates.

Gilland v. Owens, 718 F.Supp. 665, 673 (W.D. Tenn. 1989).

Classification, of courser remained a central problem even after
the December 22, 2000, finding of contempt (Op. Finding Defs. in
Contempt of Court, Dec. 22, 2000, (Docket No. 233), at 27-34) and
until the implementation of a new objective classification system.
During the purgation hearings held in April of 2005, the Court also
heard testimony indicating that before the implementation of the new
classification system, classification personnel were unable to
directly access the National Crime lnformation Center (“NClC”)
database in order to obtain an individual’s prior criminal history.
(See Tr. at 148.)

27 The Court heard testimony concerning a stop-gap measure
implemented by the County between approximately 2000 and 2001 that was
effective in assigning new inmates to either violent or nonviolent
booking in the intake area at the lower level of the Jail. (Tr. at
21, 56-57.) Under this system, violent and nonviolent inmates were
separated into two parallel corridors in the lower level of the Jail
after they were fingerprinted and identified. (Tr. at 57.) lnmates
were separated based on their arrest and conviction history, if such
information was available during booking, as well as their arresting
offense. (ld.) This system could have been implemented in the Jail
at any time. and, certainly, could have been implemented well before
2000 or 2001. (Tr. at 58.)

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Since the finding of contempt, the County has implemented a
modern objective classification system that utilizes more data in
determining an individual's classification.2B (Tr. at 61, 148.)
Under this system, an inmate's initial classification is
regularly reviewed based on that inmate's current institutional
behavior to insure that the inmate is properly classified.29
(Tr. at 59-60.) For instance, if an inmate is involved in a
violent incident, then the inmate is reviewed and often receives
a higher security level classification. (Tr. at 60.) Dr.
Schwartz testified that the objective classification system has
been effective in separating the most dangerous inmates from
those that are the least dangerous. (Tr. at 21.)

E. Gang Control

Prior to 2001r gang control was prevalent in the pods at the
Jail. Gangs maintained their own organizational structure,
created and enforced their own rules, organized brawls, forced

non-gang members to fight gang members for sport and intimidated

 

28 During the purgation hearings, Dr. Schwartz testified that
there was an error in his report concerning the County's decision to
abandon use of a recently purchased classification systems (Tr. at
55-56.) ln his reportr Dr. Schwartz specifically noted that the
County “purchased a proprietary classification system and shortly
thereafter decided to abandon it in favor of the system in place at

the Corrections Center, which was available free.” (Hearing Ex. 2, at
64.) Dr. Schwartz testifiedj however, that the County reversed the
above decision, and that the previously purchased Northpoint
Classification System is being utilized at the Jail. (Tr. at 56, 60.)

29 ln additionr under this new system, a terminal is now located
in classification that provides direct access to the NClC database.

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both inmates and staff. (Op. Finding Defs. in Contempt of Courtr
Dec. 22, 2000, (Docket No. 233) at 16-20.) An example of the
degree of gang control and intimidation is the murder of Sergeant
Dedrick Taylor on April 19, 1996.30 (ld. at 20.) During this
time, the Jail had no effective gang unit to reduce gang control.
Although the Jail maintained a Gang Task Force, that task force
consisted of one officer who gathered, but did not otherwise
report or act upon, information concerning gang membership,
organization and activity. (Op. Finding Defs. in Contempt of
Court, Dec. 22, 2000, (Docket No. 233) at 21.; Tr. at 53, 144-
45.)

The Jail now has a Gang lntelligence Unit (“GlU”) that
collects and utilizes data to control and monitor gang activity.
(Tr. at 54, 146.) ln general, the GlU examines Jail admissions

and identifies known gang members. (Tr. at 51, 145.) During

 

m On April 19, 1996, Sergeant Taylor was murdered by gang members

at his home pursuant to an order issued from a telephone inside a pod
within the Jail. State v. Thompson, No. Wl998-00351-CCA-R10-CD, 2001
WL 912715, at *1, *3 (Tenn. Crim. App. Aug. 9, 2001). The phone call
was made by Charles Thompson, a high-ranking member of a gang called
the Traveling Vice Lords, following a verbal altercation he had with
Sergeant Taylor in the Jail. ldy at *1. Thompson called Verico
Jackson, another high-ranking member of the Traveling Vice Lords, and
stated that he wanted Sergeant Taylor killed and wanted news of the
killing to appear on television the next morning. ld; Jackson then
later told other gang members to kill Sergeant Taylor. ld; Sergeant
Taylor was subsequently shot several times when he pulled into his
driveway and died from the gunshot wounds. Thompson, 2001 WL 912715,
at *l. A copy of the opinion from the Tennessee Court of Criminal
Appeals is attached as Appendix H. This opinion is also available at
the Tennessee Administrative Office of the Courts website at
http://www.tsc.state.tn.us/OPlNlONS/tcca/cc3qtr2001.htm.

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this process, gang members seen as a serious threat are placed in
administrative segregation, while other gang members are
tracked.31 (Tr. at 52.) The GlU also examines violent incidents
to determine whether there was gang involvement,32 regularly
interviews inmates, and receives telephone calls providing
information regarding gang activity through a hotline from
telephones in the cell blocks. (Tr. at 52, 145.) ln addition,
the GIU, when able,33 works with law enforcement units charged
with investigating gang activity outside the Jail. (Tr. at 145-

46.)

 

31 Gang members in the Jail currently maintain a low profile
because it is well known that individuals identified as gang members
will be placed into administrative segregation. (Hearing Ex. 2, at
63-64: Tr. at 125.)

32 For instance, the GlU examines whether groups of inmates were
acting as a gang or placing gang pressure on inmates or staff. (Tr.
at 52.) The staff at GlU also looks at whether the individuals
involved in a particular incident were known gang members. (ld.) lf
known gang members were, in fact, involved in
an incident, they may be separated from the general population and
placed in a lock down unit. (ld.)

w The Court received testimony concerning the impact rising
absenteeism is having on Jail units such as the GlU. (Tr. at 175-77.)
Absenteeism causes other staff members to be pulled away from units
such as the GlU, the disciplinary section, the grievance section and
the DRT to cover for those employees not arriving to work. (Tr. at
175-76.) Absenteeism has at least once caused the GlU to fall behind
on its investigations and has also caused booking time to increase
significantly. (Tr. at 175.)

Mr. Fisher testified that approximately 90-100 people per day
have recently been absent from work at the Jail. (Tr. at 176.) This
figure represents approximately a 30% increase from absenteeism levels
a year ago. (ld.) Mr. Fisher testified that continued absenteeism
could disrupt the ability of the Jail to operate effectively. (Tr. at
176; Report of Special Master, Apr. ll, 2005, Hearing Ex. 3.)

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F. Inmate Discipline and Prosecution of New Crimes

The Jail had no effective system to discipline and prosecute
inmates prior to 2001. Often disciplinary hearings on inmate
cases were not heard due to staff shortages in the Disciplinary
Section. (Tr. at 151.) Other inmate cases were often delayed
and many inmates were either released or transferred from the
Jail before their cases were heard. (Hearing Ex. 2, at 64.) ln
addition, inmates who committed infractions in the Jail often did
not serve their sentences because very little space was available
for disciplinary segregation. (Hearing Ex. 2, at 64.) As a
result, an inmate committing an infraction often waited to
receive a segregation bed or was released or transferred without
serving his sentence. (ld.) With respect to prosecution, the
severity of conduct required to prosecute a case was very high.
(Hearing Ex. 2, at 64-65.) Moreover, there were few
investigations and subsequent referrals to the District Attorney
General's Office.34 (ld. at 65.)

Several changes have since occurred with respect to the
inmate disciplinary and prosecutorial system. The Jail has
designated an additional living unit for disciplinary segregation

housing, devoted more staff resources to disciplinary hearings

 

34 ln his report, Dr. Schwartz noted that, prior to 2001,

investigators from the enforcement division of the Sheriff’s office

did not want to perform investigations at the Jail. (Hearing Ex. 2,
at 65.) When such investigations took place, follow up and referral
to the District Attorney General's office were rare. (ld.)

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and changed policies regarding the disciplinary hearing
process.35 (Hearing Ex. 2, at 65.) ln addition, inmates
committing serious offenses are immediately transferred to
administrative segregation pending the outcome of their
disciplinary hearing and are kept there if they are found guilty.
(ld.)

The Jail has also created a General lnvestigative Bureau
(“GlB”) that works with staff at the District Attorney General’s
Office to prosecute inmates who commit infractions in the Jail.
The GlB investigates all incidents that could constitute a

potential crime and refers cases to the District Attorney

General's office for prosecution. (Tr. at 150; Hearing Ex. 2, at
65.) The existence of the GlB has had a positive impact on staff
morale at the Jail. (Tr. at 62; Hearing Ex. 2, at 65.) ln

addition, the existence of the GIB has created a disincentive for
inmates to perform violent acts because inmates are aware that
they will be prosecuted and will receive additional time for any
infractions they commit in the Jail. (Tr. at 62, 150-51.) The
active prosecution of inmate infractions at the Jail has also
improved the ability of deputy jailers to supervise inmates.

(Tr. at 151-52.)

 

§ But see supra note 33.

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G. Disturbance Response Team

Prior to 2001, the Disturbance Response Team at the Jail was
comprised of deputy jailers already assigned to staffing posts.
(Tr. at 156.) Therefore, when a disturbance arose, these jailers
had to vacate their assigned posts in order to respond to the
emergency. (ld.) ln addition, the DRT did not have the
equipment or training necessary to perform their job effectively
and did not conduct random searches of the various cell blocks in
a systematic manner. (Tr. at 158.)

As presently constituted, the DRT is a freestanding unit
that is called whenever there is any physical confrontation in
the Jail.36 (Tr. at 63, 156.) The DRT is deployed in small
groups through various areas of the Jail and maintains its
visibility by walking around the floors, visiting with deputy
jailers, performing random searches of cell blocks to control
contraband and obtain gang information and by providing escorts.
(Hearing Ex. 2, at 68; Tr. at 64, 156-57.) The existence of the
DRT facilitates direct supervision because it assures staff that
if a dangerous situation in the cell block arises, there will be
an immediate response from a unit capable of taking physical
control of that situation. (Tr. at 63-64, 156.) ln addition,

the DRT also provides a deterrent to inmates who contemplate

 

36 Mr. Fisher testified that the DRT is freestanding except in
situations when some of its members must be placed on a post due to
staffing shortages. (Tr. at 156; see supra note 33.)

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creating a violent incident or disturbance because inmates are

aware that a well-equipped and well-trained unit exists to

immediately respond to any such incident or disturbance. (Tr. at
64, 156-57.)
H. Inmate Services

The unavailability or inadequacy of inmate services
such as food, maintenance, counseling, chaplaincy, sanitation,
medical and mental health services can have a negative impact on
inmate morale and increases the risk of violence in a
correctional facility.37 (See e.g., Tr. at 65-66, 123-24, 159-
60.) In addition, as previously discussed, the ability to
provide adequate inmate services also significantly impacts the
degree to which direct supervision can be successfully practiced.
(Tr. at 48, 158-60.)

Prior to 2001, food, maintenance, medical and mental health

services were deficient at the Jail. (Hearing Ex. 2, at 68; Tr.
at 123, 160.) ln particular, maintenance and food service were
consistently substandard. (ld.) ln addition, medical and mental

health services lacked adequate resources and inmates often
failed to receive treatment. (Hearing Ex. 2, at 68.) Since

2001, Defendants have taken steps to improve these services.

 

37 For instance, a correctional facility faces a serious risk of a
disturbance when food and medical services are poor. (Tr. at 65.)
Moreover, the provision of poor mental health services may result in a
facility experiencing unnecessary assaults or preventable suicides.
(Tr. at 66.)

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(Hearing Ex. 2, at 69; Tr. at 123.) The continued provision of
proper inmate services such as food, maintenance, counseling,
chaplaincy, sanitationr medical and mental health services is
critical to the effective operation of the Jail.

I. Grievance Procedures

lt is essential for a correctional facility to maintain an
effective inmate grievance procedure so that the facility can
monitor potential problems, so inmates can make complaints

regarding treatment or services in the facility, and so that

valid inmate concerns can be addressed. (Hearing Ex. 2, at 19;
Tr. at 161.) Prior to 2001, there was no grievance procedure in
place at the Jail. (Tr. at 163.) Currently, a grievance

procedure exists and is initiated when an inmate completes a
grievance form that is signed off by a deputy jailer, (Tr, at
162.) The form then goes to the grievance office and from there
it is sent to the particular section that is the subject of the
grievance. (Tr. at 162-63.) An answer is then given to the
inmate and the inmate has an opportunity to appeal that answer.
(Tr. at 163.) Although there have been several problems with the
current grievance procedure, the Court heard testimony concerning
changes aimed at making the procedure more effective that were

scheduled to take place on May 1, 2005.38 (Tr. at 163-64.)

 

38 These changes include limiting the number of grievances inmates
are allowed to file within a given 30 day period, shortening the
(continued...)

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J. Staff Training

Prior to 2001, there was no effective staff training at the
Jail. (Tr. at 22-23.) Since that time, the level of staff
training has improved.39 (Tr. at 23, 120.) The training is
professional and there have been improvements in the classroom
facilities, atmosphere, staff, instructors and the curriculum.40
(Tr. at 23.)

K. Security

The Court received testimony indicating that the security in
the Jail has dramatically improved since the finding of contempt.
(Tr. at 29.) lmproved security within the Jail is the result of
many components working in concert. Those components are
discussed in the following sections of this order and opinions
Sections ll. A. Direct Supervision; B. Population Management; C.

Collection and Utilization of Data; D. Objective Classification;

 

(...continued)
response time to 10 days and disciplining staff or vendors who do not
timely respond to grievances. (Hearing Ex. 3.)

39 Dr. Schwartz testified that he was unable to observe academy
training for new hires and his testimony was therefore limited to the
regular in-service 40 hour training received by staff at the Jail.

(Tr. at 22.) He further testified that the training at the Jail looks
very good compared to what he has observed nationally in Jails and
prisons. (Tr. at 23.) While Dr. Schwartz' assessment may be somewhat

optimisticr it is clear that there has been significant improvement in
training for staff at the Jail. But see supra note 14.

40 Dr. Schwartz testified that almost all of the Jail staff to
whom he had spoken had participated in training when it was deficient
and now provided positive reviews concerning both the current in-
service training and the specialized training for supervisors and
management. (Tr. at 23.)

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E. Gang Control; F. lnmate Discipline and Prosecution of New
Crimes; G. Disturbance Response Team; H. lnmate Services; l.
Grievance Procedures; J. Staff Training; L.
Certification/Accreditation; M. lnmate ldleness; and N.
Leadership. Mr. Fisher testified that the security in the Jail
can now be characterized as good.41 (Tr. at 120.)

L. Certification/Accreditation

After an inspection from the Tennessee Corrections lnstitute
(“TCl") on August 19, 1988, the Jail received a recommendation of
non-certification and the TCl Board of Control approved the
recommendation of non-certification and decertified the Jail on

October 18, 1988.42 During the 15 years between 1988 and 2003,

 

g Mr. Fisher also explained that there remains room for
improvement regarding security within the Jail. (Tr. at 120.)

“ The Tennessee Corrections lnstitute (“TCl”) is required under
Tennessee Code Annotated § 41-4-140 “to establish minimum standards
for local jails, lock-ups, workhouses and detention facilities in the
state and conduct an annual inspection of each facility.” lENN. CoMP.
R. & REGS Ch. 1400-1-.01(1) (2004}. The Shelby County Jail was
recommended for non-certification in 1988 because it did not have
enough staff, had poor classification, and maintained a “pod
representative” system whereby prisoners were allowed to supervise
each other in violation of TCl's minimum standards. The Minutes of
the TCl Board of Control October 18, 1988, meeting, as well as other
public documents maintained by TCl are attached as Appendix K.

Chapter 1400-1-.16(5) of the Rules of the Tennessee Corrections
lnstitute concerns prisoner supervision and specifically provides that
“[p]risoners shall not be permitted to supervise, control, assume or
exert authority over other prisoners.” TEML COMP.IL,& RHW Ch. 1400-1-
.16(5) (2004).

The “pod representative” system, also described as the “pod boss”
system, was referenced in a number of public records maintained by
TCl. ln particular, this system was referenced in the TCl County
lnspection Reports prepared in connection with the following
inspections of the Jail: August 19, 1988 (noting non-compliance with

(continued...)

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every TCl annual inspection resulted in a “non-certification”
recommendation. On October 8, 2003, the Jail received a
recommendation for certification, and the Board of Control
approved the recommendation for certification on January 29,
2004, and certified the Jail as being in compliance with TCl
minimum standards.

The Jail also has never received accreditation from the
American Correctional Association (“ACA”). (Tr. at 187.) The

record shows that the County is moving toward obtaining

 

(...continued}
Chapter 1400-1-.16(5) and stating that “[t]he facility has begun a
program of designating ‘pod representatives’ to maintain order in the

housing areas. These representatives, who are inmates[,] assign
clean-up jobs, set pod rules[,] and, presumably, discipline prisoners
who break the pod rules.”); June 27-28, 1989, and July 5-6, 1989

(noting non-compliance with Chapter 1400-1-.16(5)); June 11-13, 1990
(noting non-compliance with Chapter 1400-1-.16(5), that “[t]he ‘Pod
Boss' system remains in effect with one inmate or group of inmates
setting pod rules and dispensing punishment,” that “{a]ccording to
posted rules, punishment can include such things as loss of telephone
time or food,” and that adequate supervision should be provided “so

that ‘Pod Boss' System is eliminated."); May 4-5 1993, and May 7, 1993
(noting non-compliance with Chapter 1400-1-.16(5) and that “pod bosses
must be removed”); December 18-19, 1995 (noting non-compliance with

Chapter 1400-1-.16(5)); December 9-12, 1996 (noting non-compliance
with Chapter 1400-1-.16(5) and that “[t]he facility has a program of
designating pod representatives, to maintain order, in the housing
areas. These representatives, who are inmates, assign clean up jobs,
set pod rules and seem to discipline prisoners who break the pod
rules.”); and August l, 2001 (noting non-compliance with Chapter l400-
l-.16(5)). ln addition, a document prepared on March 10, 1989, by TCl
entitled “Report on the Status of the Shelby County Jail,” noted that
“[p]ods are still run by inmates who are known as “pod
representatives.” The above documents are attached as Appendix K.

The information contained in the above documents concerning the
“pod representative” system is consistent with the findings made
regarding gang control of the pods in the December 22, 2000, Opinion
Finding Defendants in Contempt of Court. §pp supra pages 26-28.

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accreditation and that it appears that the Jail is “on track” to
receive ACA accreditation. (Tr. at 187; Hearing Ex. 2, at 31.)

M. lnmate Idleness

lnmate idleness is a serious problem that enhances the risk
of violence in the Jail. It is therefore essential for the Jail
to develop and maintain programs so that inmates have an
opportunity to participate in constructive activities. (Hearing
Ex. 2, at 4?.) The record shows that since the finding of
contempt, the Defendants have taken steps to implement programs
and activities to reduce inmate idleness at the Jail.
Specifically, Defendants have developed and maintained an Alcohol
and Drug Program; a General Equivalency Diploma (“GED”) course;
an Anger Management Program; a MCS Education Program; a Life
Skill Program; a DUl Program; a Moral Reconation Therapy Program;
a Stop the Violence Program; a Cross Cultural (Spanish) Program;
and other special programs.43

N. Leadership

The current Sheriff and Jail leadership have been a key part

in the dramatic turnaround44 that has taken place in the Jail.45

 

“ The Shelby County Sheriff's Office April 2005 Jail Report

Card, attached as Appendix G, contains additional information
concerning participation in the above programs.

“ During the pendency of the Jail cases, there have been serious
problems at the highest leadership levels of the Shelby County
Sheriff’s Department. Two incidents from the Jail's history are
illustrative.

(continued...)

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(...continued)

On May 5, 1990r former Sheriff Jack Owens committed suicide.
Louis Graham, FBl Scoured Sheriff's Dept. From ‘89; Laundry List of
Dirty Dealings Alleged, The Commercial Appeal, (Memphis, TN), Aug. 9,
1998, at Al, available at LEXIS, News Library, Newspaper Stories,
Combined Papers. A local newspaper article further noted that “[t]he
FBl began surreptitiously recording conversations to prove a ‘pattern
of illegal activities’ as early as October 1989, first targeting
Sheriff Jack Owens, then others in the department after his suicide."
ld.

On April 18, 1996, Alton Ray Mills, the Chief Deputy of the
Shelby County Sheriff's Department, and Stephen D. Toarmina, a “Staff
Special Deputy,” were indicted by a federal grand jury on eighteen-
counts for conduct associated with the sale of deputy sheriff's
positions in the Shelby County Sheriff’s Department. The indictment
specifically charged Mills and Toarmina with conspiracy, bribery,
extortionr and money laundering in violation of federal law. The
indictment “alleged that during the relevant time period, Toarmina
approached various individuals and obtained between $3,500 and $3,930
from them in exchange for a promise that Mills, referred to as ‘the
man downtown,' would then hire them to fill open employment slots as

full-time, commissioned deputy sheriffs.” United States v. Mills, 140
F.3d 630, 631 (6th Cir. 1998). Mills and Toarmina were subsequently

convicted on numerous counts and sentenced to periods of imprisonment
of 37 months and 39 months respectively.

Mills began his employment with the Shelby County Sheriff’s
Department in September of 1986 as Chief Administrative Officer in the
Owens Administration. ln September of 1990, Mills was named Chief
Administrative Officer in the newly elected administration of A.C.
Gilless and later served as Sheriff Gilless's Chief Deputy from July
of 1991 to March of 1998. Prior to his employment with the Shelby
County Sheriff's Department, Mills had served as a president, general
manager, and sales manager at various car dealerships. ln addition,
Mills had worked as a deputy sheriff for approximately one year.

E ln his report filed on April 5, 2005, Dr. Schwartz stated the
following regarding the leadership of the current Sheriff and Jail
administration:

The current Sheriff has provided very strong positive
leadership for the jail. lt is fortuitous and most helpful
that he is a career corrections professional with
outstanding personal credentials managing correctional
institutions.

During the Sheriff’s election campaign two years ago, the
first plank in Mark Luttrell’s platform was a commitment to
straighten out the Shelby County Jail. From the time of his
election, Sheriff Luttrell has done just that. He has
(continued...)

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The record reflects that the current leadership has provided
support, technical assistance and direction throughout the

process of implementing the remedial scheme necessary to alter

 

(...continued)
provided leadership in ways that are both obvious and
subtle. He tours the jail with some regularity, talking
with front line jail staff and inmates alike and modeling
that behavior for other managers in the Sheriff's Office.
The Sheriff attends several different jail management or
monitoring meetings each month. The consultant observed
different meetings of this sort and the Sheriff strikes a
difficult balance between supporting his jail administrators
and avoiding micro-management on the one hand while still
asking key questions and providing strong direction and even
technical advice on the other. Sheriff Luttrell has
insisted that everyone within the Sheriff's Office recognize
the jail and its staff as an integral and co-equal part of
the Sheriff's Office, and also insisted that they be treated
with respect. Few things have made a greater difference
over the last few years for the jail staff.

The jail has an excellent management team. The Chief and
the two Assistant Chiefs have quite different strengths and
styles, which they use to compliment each other. That three
person team works very well together and they demonstrate
leadership, procedural knowledge of the business, supportr
strong accountability, integrity and an excellent work ethic
to the rest of the work force. The jail Chiefs have a huge
agenda and many day to day problems they cannot avoid, and
it was poignant to hear one of them describe how difficult
it is to have to discipline and terminate too many staff and
still maintain a positive leadership direction.

lt would be remiss not to also mention the major leadership
contribution of former Jail Chief Joe Ponte who resigned
last year but worked in the jail during the three years of
most extraordinary change. Chief Ponte created change the
old fashioned way, one staff member at a time, and one
procedure at a time. He trained, supervisedr cajoled,
disciplined, motivated and otherwise moved staff to levels
of performance that many, including this consultant, thought
they could not attain, He also molded them into a team.
His work, particularly with supervisors and managers in the
living units and on the floors of the jail, was a primary
factor in the jail's progress.

(Hearing Ex. 2, at 60-61.}

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the unconstitutional conditions at the Jail.46 The current Jail
staff have in turn responded to the demands placed on them in a
professional way and with improved performance. (Tr. at 26-27.)
III. Standard of Review

ln determining whether Defendants have complied with an

 

% ln addition, Dr. Schwartz made the following comments in his

report regarding the leadership efforts of county Criminal Justice
Coordinator, William Powell; county Health Director, Yvonne Matlock;
and the County Administrative Officer, Jim Kelly, and his Deputyr
Ernie Gunn:

Bill Powell, the county Criminal Justice Coordinator, agreed
to coordinate the change efforts at a time when there was
little commitment to change the jail and when that seemed
like an assignment which could end any career. Bill has
chaired the weekly high level coordination meeting for four
years now, tracking progress with the court compliance plan
and DOJ, establishing landmarks and timelines, sending
agendas in advance and minutus after each meeting, always
focusing on accountability and achievement. Bill has
provided leadership and professionalism of the highest
caliber and his quiet interventions to stop personality
conflicts or overcome interagency disputes have been
invaluable.

Yvonne Matlock, the county Health Director, has supported
the change agenda at the jail from the beginning[.} When
there has been a crisis with health or mental health issues,
and there have been many, she has been immediately
accessible and has provided strength, integrity and an
unwavering focus on public health values with the jail
population.

ln 2000 and 2001, Jim Kelly and Ernie Gunn, the County
Administrative Officer and his Deputy, respectively,
recognized that the jail debacle could prove disastrous for
Shelby County government as a wholer when many others still
did not see that. They used the good offices of the County
Administrative Officer to do anything they could to support
change at the jail.

(Hearing Ex. 2, at 70.)

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order of the Court, the Court considers whether “the defendants
took all reasonable steps within their power to comply with the
court’s order,” which includes whether the defendants have
“marshal[ed] their own resources, assert[ed] their high
authority, and demand[ed] the results needed from subordinate
persons and agencies in order to effectuate the course of action
required by the [court’s order].” Glover v. Johnson, 934 F.2d
703, 708 (6th Cir. 1991).
IV. Analysis

As previously noted, prior to 2001, the Jail was a dangerous
place with high levels of violence and rape, and pervasive gang
control. Today, the Jail is a safer institution for both inmates
and staff; violence and gang activity within the Jail have been
brought under control.

These changes have occurred as a result Of Defendants’
implementation, and continued implementation, of a remedial
scheme that was created over a period of time following the

Court's December 22, 2000, finding of contempt.47 The Court

 

47 As previously notedr the December 22, 2000, opinion finding
Defendants in contempt instructed the parties to submit short,
intermediate, and long term remedial plans to correct the
unconstitutional conditions in the Jail. (Op. Finding Defs. in
Contempt of Courtr Dec. 22, 2000, (Docket No. 233), at 43.) After
abandoning previously filed short, intermediate, and long term plans,
Defendants filed a revised compliance plan on April 9, 2001. (Notice
of Filing Revised Shelby County Jail Compliance Plan, Apr. 9, 2001,
(Docket No. 347).) No expert asserted, however, that this plan, if it
was implemented without modification, would remedy the
unconstitutional conditions at the Jail. (Order, June 21, 2001,

(continued...)

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finds that the substantial reductions in violence and gang
control at the Jail have resulted from the development and
interaction of interdependent components that comprise a de facto
fourteen (14) point remedial scheme. These components are (l)
direct supervision in the cell blocks; (2) improved population
management; (3) collection and utilization of data; (4)
installation of an objective classification system; (5)improved
control of gang members through the creation of a Gang
lntelligence Unit; (6) improved inmate discipline and prosecution
of inmate crimes committed within the Jail; (7) creation of a
separate Disturbance Response Team; (8) provision of adequate
inmate services; (9) creation of an effective grievance
procedure; (10) improved staff training; (11) improved security;
(12) efforts to achieve certification and accreditation; (13)
creation of programs and activities to reduce inmate idleness;
and (14) improved leadership. Each of these fourteen components
has been essential to creating and maintaining constitutional

conditions within the Jail.48

 

(-..continued)

(Docket No. 436), at 3.) The April 9, 2001, revised compliance plan
is attached as Appendix E to this order and opinion and the June 21,
2001, order is attached as Appendix F.

w Appendix B and Dr. Schwartz’s report filed on April 5, 2005,
{and particularly his “What Has Worked” section beginning on page 59
of that report) are perhaps the most useful discussions of the
remedial scheme implemented in this case.

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Shelby County has achieved constitutional compliance not
through adherence to symptom-based remedial provisions, but
rather through a focused, systemic and information-driven
structural reform based on critical expert assessment of
essential institutional functions. This fourteen point
structural reform scheme was narrowly drawn, extended no further
than necessary to correct the violation of the federal right, and
was the least intrusive means necessary to correct the violation
of the federal right. The evidence received during the purgation
hearings demonstrated that Defendants are, in fact, no longer
following the steps required by the prior Court orders.‘19
Rather, in consultation with the Court, the Court's Special
Master Charles Glover Fisher, V.,50 and the County's own retained
experts Dr. Jeffrey A. Schwartz and Dr. Pat Gaston, the

Defendants have taken all reasonable steps within their power to

 

49 For instance, the testimony received during the purgation
hearings demonstrated that Defendants were not staffing the night
shift as required by the November 12, 1997, order (Docket No. 55). ln
addition, no proof was presented demonstrating that Defendants were
single celling inmates who were not yet fully classified or complying
with the 55/5 provision of the November 12, 1997, order.

There was also no proof demonstrating that Defendants
substantially complied with the requirements of the November 24, 1999,
order (Docket No. 78) prohibiting the regular use of overtime to staff
certain positions. lnstead, testimony was presented concerning the
negative impact rising employee absenteeism has had on operations
within the Jail. Although the Jail has currently achieved
constitutional compliance, continued and systemic absenteeism has the
potential to cause the Jail to revert to an unconstitutional state.

50 The Assistant Special Masters, Wanda J. Kilgore-Schneider and

Curtis J. Shumpert, have also played important roles in the
remediation of conditions in the Jail.

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(1) fashion an effective remedy (the fourteen point remedial
scheme) and (2) implement that remedy. §pp Glover, 934 F.2d at
?08. lt is by this creative and determined approach that Sheriff
Luttrell and Shelby County have marshaled their resourcesr purged
themselves of contempt, and achieved constitutional compliance.
V. Conclusion

For the foregoing reasons, the Court FINDS that Defendants
have PURGED themselves of contempt of the Court orders through
the development and implementation of the fourteen point remedial

scheme.

So ORDERED this f&kh day of June, 2005.

n 51 Wll

JO P. MCCALLA
TED STATES DISTRICT JUDGE

 

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US DISTRICT COURT

